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IN THE UNITED sTATES DISTRICT COURT F"'ED BY § '- °'c'
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 AUG Zl* PH 3‘ '5
: ’* .,), ':u
MARILEBR‘SCO’ > QERU"§“°[:§§;T§Y%%W
) viii nc ira mf§i»:?z-:JS
Plaimiff, )
)
v. ) No. 04-2222 B/An
)
CCL CUSTOM MANUFACTURING, )
lNC., )
)
Defendant. )

 

ORDER DENYING UNOPPOSED MOTION TO EXTEND DISCOVERY
DEADLINE ANI) RESET TRIAL

 

Before the Court is Plaintiff’ S Unopposed Motion to Extend Discovery Deadline and
Reset Trial filed on May 27, 2005. Because the Cc)urt entered an Amended Rule 16(b)

Scheduling Order on July 11, 2005, the instant motion is DENIED as moot.

IT IS 30 ORDEREI). f

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: £q,{' 295 200.‘/

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
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August 25, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

